                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                 NORTHERN DIVISION

GERALD DEARDORFF,                               )
                                                )
       Plaintiff,                               )
                                                )
       v.                                       )       Case No. 3:12-cv-00604
                                                )
GC SERVICES, LP,                                )
                                                )
       Defendant.                               )

                    STIPULATION TO DISMISS CASE WITH PREJUDICE

        Plaintiff, GERALD DEARDORFF, and Defendant, GC SERVICES, LP, through their

respective counsel, stipulate to dismiss the above-captioned action pursuant to Federal Rule of

Civil Procedure 41(a)(1)(A)(ii), with prejudice, each side to bear their own fees and costs.

DATED: February 6, 2013                     RESPECTFULLY SUBMITTED,

                                            KROHN & MOSS, LTD.


                                      By: /s/ Shireen Hormozdi               .

                                            Shireen Hormozdi
                                            Krohn & Moss, Ltd
                                            10474 Santa Monica Blvd. Suite 401
                                            Los Angeles, CA 90025
                                            Tel: (323) 988-2400 x 267
                                            Fax: (866) 861-1390
                                            Email: shormozdi@consumerlawcenter.com
                                            Attorney for Plaintiff




                                                 1
Case 3:12-cv-00604-TWP-CCS Document 9 Filed 02/06/13 Page 1 of 2 PageID #: 28
DATED: February 6, 2013           RESPECTFULLY SUBMITTED,

                                  FRANTZ, MCCONNELL & SEYMOUR, LLP.


                             By: /s/ John M. Lawhorn          .

                                  John M. Lawhorn (BPR No. 14388)
                                  FRANTZ, MCCONNELL & SEYMOUR, LLP
                                  P.O. Box 39
                                  Knoxville, TN 37901
                                  (865) 546-9321
                                  Attorney for Defendant GC Services, LP




                                      2
Case 3:12-cv-00604-TWP-CCS Document 9 Filed 02/06/13 Page 2 of 2 PageID #: 29
